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 3
                             UNITED STATES DISTRICT COURT
 4                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 5
       MacNEIL AUTOMOTIVE PRODUCTS
 6     LIMITED d/b/a WEATHERTECH,
 7                            Plaintiff,

 8         v.                                            C20-856 TSZ

 9     JINRONG (SH) AUTOMOTIVE                           MINUTE ORDER
       ACCESSORY DEVELOPMENT CO.,
10     LTD.; and RUI DAI,

11                            Defendants.

12
          The following Minute Order is made by direction of the Court, the Honorable
     Thomas S. Zilly, United States District Judge:
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         (1)     Defendant Jinrong (SH) Automotive Accessory Development Co., Ltd.’s
14 motion for reconsideration, docket no. 75, is DENIED.

15         (2)    Having reviewed the parties’ Joint Status Report, docket no. 86, the Court
   DIRECTS that any motion concerning whether the accused infringement is beyond the
16 territorial scope of United States patent law shall be filed on or before November 12,
   2020, and noted for the fifth (rather than the fourth) Friday after filing. The Court will
17 issue a separate scheduling order setting the trial date and related dates and deadlines.

18          (3)     The Clerk is directed to send a copy of this Minute Order to all counsel of
     record.
19
            Dated this 21st day of September, 2020.
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                                                       William M. McCool
21
                                                       Clerk
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                                                       s/Karen Dews
                                                       Deputy Clerk
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     MINUTE ORDER - 1
